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13                               UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15

16                                                 Case No. 3:22-cv-3580-WHO
     IN RE META PIXEL HEALTHCARE
17   LITIGATION,                                   THE ONLINE TAX FILING PLAINTIFFS’
                                                   JOINT OPPOSITION TO DEFENDANT
18
                                                   META PLATFORMS, INC.’S
19                                                 ADMINISTRATIVE MOTION TO
     This Document Relates To:
                                                   CONSIDER WHETHER CASES SHOULD
20                                                 BE RELATED AND CONSOLIDATED
     All Actions
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     JOINT OPPOSITION TO MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED AND
     CONSOLIDATED
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 1           Defendant Meta Platforms, Inc. has moved to relate and consolidate for discovery purposes
 2   two recently filed cases related to online tax filing websites, John Doe & Jane Doe v. Meta
 3   Platforms, Inc., Case No. 3:22-cv-07557-SI, and Katrina Calderon, et al. v. Meta Platforms, Inc.,
 4   Case No. 5:22-cv-09149-VKD (collectively, the “Online Tax Filing cases”). The Plaintiffs in the
 5   Online Tax Filing Cases jointly oppose Meta’s motion, because while they share Meta’s goals of
 6   efficiency and avoiding duplicative discovery, the Online Tax Filing cases are very different from
 7   In re Meta Pixel Healthcare Litigation, and to the extent the two lines of cases overlap, efficiencies
 8   in discovery can be obtained by coordination and cooperation among the parties.
 9          First, in its Motion to Relate, Meta correctly emphasizes that the two lines of cases
10   “implicate a number of distinct legal issues, evidence, witnesses, and defenses.” Meta’s Admin.
11   Motion to Relate, at 4:27. The Online Tax Filing cases involve allegations that Meta secretly
12   obtained income and other tax return information when class members did their taxes on websites
13   offered by companies like H&R Block, TaxAct, and Tax Slayer. The Online Tax Filing cases
14   involve different websites, different putative classes, the disclosure of different sensitive
15   information, different laws protecting sensitive information, and will involve different third-party
16   discovery. Meta will likely assert consent as an affirmative defense in the Online Tax Filing cases
17   and in In re Meta Pixel Healthcare, but that defense will be based on different website privacy
18   policies and different laws governing disclosure of tax information, as opposed to health
19   information.
20          The only thing that the two lines of cases have in common is the defendant and its Pixel
21   technology, but as this Court has already noted, “[t]he Pixel is customizable: website developers
22   choose which types of user actions to measure, and program the Pixel accordingly.” Dec. 12, 2022
23   Order Denying Motion for Preliminary Injunction, ECF No. 159, at 3:1-2 (citing Declaration of
24   Meta employee Tobias Woolridge, at ¶¶ 3-4). Thus, while both lines of cases involve Meta’s Pixel,
25   the discovery into that technology will only partially overlap. At least one other court has held in a
26   similar case involving third-party wiretapping of website communications that these differences
27   support denial of a motion to relate:
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     JOINT OPPOSITION TO MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED AND
     CONSOLIDATED                                                             1
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 1          These cases involve different websites owned by different defendants. Plaintiff
            visited each website at different times. Each case involves different transactions
 2          Plaintiff made on different websites. In addition, the putative classes will be
 3          different. Thus, the cases do not arise from the same or closely related
            transactions, do not call for a determination of same questions of law and fact and
 4          would not entail a substantial duplication of labor if heard by different judges.

 5   Saleh v. Nike Inc. et al., C.D. Cal. Case No. 2:20-cv-09581-FMO, Nov. 13, 2020 Order Denying
 6   Motion to Relate, ECF No. 17.
 7          Second, Meta seeks to consolidate the cases for discovery purposes only, but numerous
 8   courts have held that consolidation is unnecessary for coordinated discovery. See Backus v.
 9   Conagra Brands, Inc., 2019 WL 1046025, at *2 (N.D. Cal. Mar. 5, 2019) (“Plaintiffs’ counsel
10   stated at oral argument that the benefit was access to discovery from the Backus action. That
11   benefit, however, can still be achieved without consolidation …”); Farina Focaccia & Cucina
12   Italiana, LLC v. 700 Valencia St., LLC, 2016 WL 524805, at *13 (N.D. Cal. Feb. 10, 2016) (“it
13   does not appear that there is a need to consolidate these two cases to ensure that discovery is
14   coordinated” because they were already related); Grabowski v. Skechers U.S.A., Inc., 2010 WL
15   11684850, at *2 (S.D. Cal. Nov. 4, 2010) (explaining, “As a consequence [of relation],
16   coordinated discovery and case management procedures will be implemented,” but denying motion
17   to consolidate).
18          This Court should reach the same conclusion. Although the plaintiffs in both lines of cases
19   likely share a common interest in Meta’s back-end code and the subjects described in the
20   declarations of Meta employee Tobias Wooldridge (see ECF Nos. 76-1 and 142), ultimately, the
21   shared discovery interests may not extend much further than that. And where the plaintiffs in the
22   Online Tax Filing cases and in In re Meta Pixel Healthcare Litigation have shared discovery
23   interests, consolidation is not a prerequisite for cooperation in pursuing those interests. Nor will
24   denial of consolidation be prejudicial to Meta. For example, the risk of duplicative depositions can
25   be avoided through coordinated deposition scheduling and providing enough time for plaintiffs
26   from both lines of cases to examine witnesses on matters that are unique to their respective cases.
27   Any onsite code review by the plaintiffs’ respective experts can be done on the same day. To the
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     JOINT OPPOSITION TO MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED AND
     CONSOLIDATED                                                             2
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 1   extent plaintiffs in both lines of cases seek the same documents, Meta can produce them in both
 2   cases with or without consolidation. In short, Meta’s motion to relate and consolidate the Online
 3   Tax Filing cases with In re Meta Pixel Healthcare Litigation should be denied.
 4
     Dated: January 10, 2023                      BURSOR & FISHER, P.A.
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24                                     Local Rule 5-1(h) Attestation
25          Each of the other signatories have concurred in the filing of the document
26

27                                                       /s/ Neal J. Deckant
                                                             Neal J. Deckant
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     JOINT OPPOSITION TO MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED AND
     CONSOLIDATED                                                             3
